Case 19-12657-VFP               Doc 21     Filed 08/09/19 Entered 08/09/19 18:18:48                        Desc Main
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                                     United States Bankruptcy Court

                                            District of New Jersey

In Re:            Christopher Cruz                               }

                                                                 }
                                                                 }

                                                                 }        Case No. 19-12657

                  Debtors                                        }        Adv. No.:

__________________________________________                                Chapter: 7

                                      MOTION TO REOPEN CHAPTER 7 IN ORDER TO

                                               RECEIVE A DSICHARGE

    David Witherspoon, Attorney for the debtors has filed papers with the court to have the creditor’s meeting

         Your rights may be affected. You should read these papers carefully and discuss them with your attorney,
if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

        If you do not want the court to grant the relief sought, or if you want the court to consider your views on
the motion, then on or before the return date, you or your attorney must:

         File with the court a written request for a hearing {or, if the court requires a written response, an answer
explaining your position} at:

         US Bankruptcy Court
         50 Walnut St
         Newark, NJ 07102
                             If you mail your request to the court for filing, you must mail it early enough so the
court will receive it on or before the date stated above.

You must also mail a copy to:

         David Witherspoon
         10 Hill Street, Suite 20Y
         Newark, NJ 07102
Attend the hearing scheduled to be held on ___ 2019 at __ am/pm in Courtroom __, US Bankruptcy Court.

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in
the motion or objection and may enter an order granting that relief

Date August 9, 2019                           /s/ David Witherspoon

                                              David Witherspoon
